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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                              TYLER DIVISION

DILLON MYRICK,                                §
                                              §
      Plaintiff,                              §
                                              §
v.                                            §   Case No. 6:22-cv-484-JDK
                                              §
ADAPTHEALTH LLC and HOME                      §
MEDICAL EXPRESS, INC.,                        §
                                              §
      Defendants.                             §

                   FOURTH AMENDED SCHEDULING ORDER

      Before the Court is Plaintiff Dillon Myrick’s unopposed motion to amend the

schedule in this case by extending the expert-designation deadlines. Docket No. 50.

The Court GRANTS the motion and ORDERS that the following schedule shall

govern the disposition of this case:

 January 21, 2025         9:00 a.m. JURY SELECTION AND TRIAL before
                          Judge Jeremy D. Kernodle, 221 W. Ferguson St., 1st
                          Floor, Tyler, Texas.

 To be scheduled by       A pretrial conference will be conducted, in person, if the
 the Court if necessary   Court determines such a conference is necessary.

                          Lead counsel for each party must attend, or, if the party is
                          proceeding pro se, the party must attend. Lead counsel
                          and pro se parties must have authority to enter into
                          stipulations and admissions that would facilitate the
                          admission of evidence and reduce the time and expense of
                          trial. All pretrial motions not previously decided will be
                          resolved at that time, and procedures for trial will be
                          discussed.

 January 7, 2025          File Responses to Motions in Limine, if any.




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December 17, 2024     File a Notice of Time Requested for (1) voir dire, (2)
                      opening    statements,   (3)   direct    and    cross
                      examinations, and (4) closing arguments.

December 17, 2024     File Motions in Limine, if any, and pretrial
                      objections.

                      Motions in limine should not be filed as a matter of course.
                      The parties are ORDERED to meet and confer to resolve
                      any disputes before filing any motion in limine. Replies to
                      responses are not permitted except by leave of Court.

December 17, 2024     Settlement Conference Deadline.

                      See additional details below.

December 17, 2024     Exchange Exhibits.

                      Each party intending to offer exhibits shall serve a
                      complete set of marked exhibits (including demonstrative
                      exhibits) to all opposing parties and shall deliver a set of
                      marked exhibits to the Court’s chambers (except for
                      large or voluminous items that cannot be easily
                      reproduced).

December 17, 2024     File Joint Final Pretrial Order, Joint Proposed Jury
                      Instructions with citation to authority and Form of
                      the Verdict for jury trials.

                      See additional details below.

                      Proposed Findings of Fact and Conclusions of Law with
                      citation to authority for any issues tried to the bench.

December 17, 2024     Notice of Request for Daily Transcript or Real Time
                      Reporting of Court Proceedings due.

                      If a daily transcript or real time reporting of court
                      proceedings is requested for trial or hearings, the party or
                      parties making said request shall file a notice with the
                      Court.




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December 3, 2024      Objections to Pretrial Disclosures.

                      Each party must serve a list disclosing any objections and
                      the relevant grounds, including any objections under
                      Federal Rule of Evidence 402 and 403, to:
                      (a) any other party’s deposition designations;
                      (b) the admissibility of disclosed exhibits; and
                      (c) the use of any witnesses.

                      Any objections not so disclosed, other than objections
                      under Rules 402 and 403 of the Federal Rules of Evidence,
                      are waived unless excused by the Court for good cause.
                      The parties are ORDERED to meet and confer to resolve
                      any disputes before filing any objections to pretrial
                      disclosures.

November 12, 2024     Exchange Rebuttal Deposition Designations.

                      For rebuttal designations, cross examination line and page
                      numbers to be included.

November 5, 2024      Exchange Pretrial Disclosures (Witness List, Deposition
                      Designations, and Exhibit List).

                      Parties must make all disclosures required by Rule
                      26(a)(3)(A)-(B). Any party who proposes to offer deposition
                      testimony shall serve a disclosure identifying the line and
                      page numbers to be offered.

September 16, 2024    Dispositive Motions due from all parties and any
                      other motions that may require a hearing (including
                      Daubert motions).

                      Motions shall comply with Local Rule CV-56 and Local
                      Rule CV-7. Motions to extend page limits will only be
                      granted in exceptional circumstances.

                      Although this deadline is only shortly after the discovery
                      deadline, the Court will not grant extensions of time for or
                      allow supplementation of dispositive or other motions
                      based on discovery occurring late in the discovery period or
                      after the discovery deadline.




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September 16, 2024       Mediation Deadline

                         Within seven days after the mediation, the parties shall
                         jointly prepare and file a written report, which shall
                         be signed by counsel for each party, detailing the date on
                         which the mediation was held, the persons present
                         (including the capacity of any representative), and a
                         statement informing the Court of the outcome of the
                         mediation.

September 3, 2024        Discovery Deadline

                         All discovery—including expert discovery—shall be
                         completed by this date. The parties may agree to extend
                         this discovery deadline, provided (a) the extension does
                         not affect the trial setting, dispositive motions deadline,
                         challenges to experts deadline, or pretrial submission
                         dates; and (b) the parties jointly file written notice of the
                         extension with the Court.

30 days after any Rule Parties may provide further expert disclosure of expert
26(a)(2) disclosure    testimony or evidence intended solely to contradict or rebut
                       evidence on the same subject matter identified by another
                       party under Rule 26(a)(2)(B) within 30 days of the
                       disclosure contradicted or rebutted.

August 19, 2024          Party without the burden of proof on an issue shall file a
                         written designation of the name and address of each
                         expert witness, if any, who will testify at trial for that
                         party and shall otherwise comply with Federal Rule of
                         Civil Procedure 26(a)(2) and Local Rule CV-26(b).

July 22, 2024            Party with the burden of proof on an issue shall file a
                         written designation of the name and address of each
                         expert witness, if any, who will testify at trial for that
                         party and shall otherwise comply with Federal Rule of
                         Civil Procedure 26(a)(2) and Local Rule CV-26(b).

       If any of these dates fall on a weekend or Court holiday, the deadline is
modified to be the next Court business day. Also note that all deadlines in this order
are for filing or delivery, not mailing dates.

       Unless otherwise ordered or specified herein, all limitations and requirements
of the Federal Rules of Civil Procedure and the local rules of this Court must be
observed.


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          I. SETTLEMENT CONFERENCE AND STATUS REPORT

a.    Settlement Conference:

       By the deadline provided above, the parties and their respective lead counsel
shall hold a face-to-face meeting to discuss settlement of this case. Individual
parties and their counsel shall participate in person, not by telephone or other remote
means. All other parties shall participate by a representative or representatives, in
addition to counsel, who shall have unlimited settlement authority and who shall
participate in person, not by telephone or other remote means. If a party has liability
insurance coverage as to any claim made against that party in this case, a
representative of each insurance company providing such coverage, who shall have
full authority to offer policy limits in settlement, shall be present at, and participate
in, the meeting in person, not by telephone or other remote means.

b.    Joint Settlement Report:

       Within seven days after the settlement conference, the parties shall jointly
prepare and file a written report, which shall be signed by counsel for each party,
detailing the date on which the meeting was held, the persons present (including the
capacity of any representative), a statement regarding whether meaningful progress
toward settlement was made, and a statement regarding the prospects of settlement.

                           II. PRETRIAL MATERIALS

a.    Pretrial Order:

       Plaintiff’s counsel shall file the joint pretrial order, which must include each
matter listed in the final pretrial order available on Judge Kernodle’s website and the
estimated length of trial. If counsel for any party does not participate in the
preparation of the joint pretrial order, opposing counsel shall submit a separate
pretrial order with an explanation of why a joint order was not submitted (so that the
Court can impose sanctions, if appropriate). Each party may present its version of
any disputed matter in the joint pretrial order; therefore, failure to agree upon
content or language is not an excuse for submitting separate pretrial orders.
When the joint pretrial order is approved by the Court, it will control all subsequent
proceedings in this case.

b.    Witness List:

     Each party shall file a witness list using the template available on Judge
Kernodle’s website.

       If any witness needs an interpreter, please note this on the witness list. It is
the obligation of the party offering such a witness to arrange for an interpreter to be
present at trial.


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c.        Exhibit List:

        Each party shall file a list of exhibits (including demonstrative exhibits)
to be offered at trial using the template available on Judge Kernodle’s website. The
list of exhibits shall describe with specificity the documents or things in numbered
sequence. The documents or things to be offered as exhibits shall be numbered by
attachment of gummed labels to correspond with the sequence on the exhibit list and
identify the party submitting the exhibit. (Modification of Local Rule 26.2(b), (c)). Do
not use letter suffixes to identify exhibits (e.g., designate them as 1, 2, 3, not as 1A,
1B, 1C).

      Each party’s exhibit list shall be accompanied by a written statement, signed
by counsel for each party and state that, as to each exhibit shown on the list,

                 (i)     the parties agree to the admissibility of the exhibit; or

                 (ii)    the admissibility of the exhibit is objected to, identifying the
                         nature and legal basis of any objection to admissibility and the
                         name(s) of the party or parties urging the objection.

       All parties shall cooperate in causing such statements to be prepared in a
timely manner for filing with the exhibit lists. Counsel for the party proposing to
offer an exhibit shall be responsible for coordinating activities related to preparation
of such a statement as to the exhibit the party proposes to offer. This includes an
obligation to make exhibits available for inspection in advance of the deadline for
filing exhibit lists where a party needs to see exhibits to assess admissibility. The
Court may exclude any exhibit offered at trial unless such a statement regarding the
exhibit has been filed in a timely manner. In addition, objections not identified in the
statement may be waived. The Court expects the parties to confer and agree to admit
the majority of their exhibits prior to trial.

d.        Deposition Testimony Designations:

       Each party shall file a list of designated deposition testimony it intends to offer
at trial. Each list of deposition designations shall include any rebuttal designations
by the opposing party. Each list of deposition designations shall also include a
notation of any objections to the designated deposition testimony.

e.        Jury Charge:

      The parties shall submit proposed jury instructions (annotated)1 and a
proposed verdict form as set forth below.


1    “Annotated” means that each proposed instruction shall be accompanied by citation to statutory or
     case authority and/or pattern instructions. It is not sufficient to submit a proposed instruction
     without citation to supporting authority.


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            (i)     Counsel for the Plaintiff shall deliver to counsel for Defendant by
                    November 25, 2024 a copy of its proposed charge and verdict
                    form.

            (ii)    Counsel for Defendant shall deliver to counsel for Plaintiff by
                    December 3, 2024: (A) a statement, prepared with specificity, of
                    any objection to any portion of the Plaintiff’s proposed charge and
                    verdict form and (B) the text of all additional or modified
                    instructions or portions of the verdict form Defendant proposes.
                    Each objection and each such request shall be accompanied by
                    citations of authorities supporting defendant’s objection or
                    request.

            (iii)   At a mutually agreed time on or before December 10, 2024, the
                    lead attorneys for the parties shall meet face-to-face at either (A)
                    a mutually agreeable place, or (B) at the office of counsel located
                    closest to Tyler, Texas, for the purposes of (1) discussing, and
                    trying to resolve, differences between the parties as to language
                    to be included in the Court’s charge to the jury and (2) identifying
                    areas of disagreement that cannot be resolved. Such meeting
                    shall be held for a sufficient length of time for there to be a
                    meaningful discussion of all areas of disagreement and a
                    meaningful attempt to accomplish agreement. Each attorney
                    shall cooperate fully in all matters related to such a meeting.

            (iv)    On or before December 17, 2024, counsel for Plaintiff shall file
                    a document titled “Agreed Charge,” which in a single document
                    shall contain, in logical sequence, all language to be included in
                    the charge, including jury instructions and jury questions, about
                    which the parties do not have disagreement and all language
                    either party wishes to have included in the charge about which
                    there is disagreement. All language of the proposed charge about
                    which there is disagreement shall be (A) in bold face, (B) preceded
                    by an indication of the identity of the party requesting the
                    language, and (C) followed by a listing of citations of authorities
                    in favor of and in opposition to the proposed language. Objections
                    may be waived if not stated in the Agreed Charge.

f.    Voir Dire:

        The parties shall file any proposed voir dire questions for the Court to ask
during its examination of the jury panel as an attachment to the pretrial order. The
filing should note whether each question is agreed to by both parties or which party
proposes the question.




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g.    Trial Briefs:

       Trial briefs may be filed by each party by the deadline for the pretrial order.
In the absence of a specific order of the Court, trial briefs are not required, but are
welcomed. The briefing should utilize Fifth Circuit and/or Supreme Court authority
or relevant state authority to address the issues the parties anticipate will arise at
trial.

               III. MODIFICATION OF SCHEDULING ORDER

       As addressed above, this Order shall control the disposition of this case unless
it is modified by the Court upon a showing of good cause and by leave of court. Fed.
R. Civ. P. 16(b)(4). Any request that the trial date of this case be modified must be
made (a) in writing to the Court, (b) before the deadline for completion of discovery.

                          IV. DISCOVERY DISPUTES

        Before filing a motion to compel, a motion to quash, or a motion for protection
from discovery, lead counsel for each party must confer in good faith concerning the
disputes. If the dispute is not resolved by conferring in good faith, then a party may
file an appropriate motion. Any such motion should include a certification by counsel
describing the steps taken to comply with this paragraph.

                         V. ELECTRONIC DISCOVERY

       In cases involving disputes over extensive electronic discovery, counsel for both
sides shall review the court’s [Model] Order Regarding E-Discovery in Patent Cases
before contacting the Hotline or filing motions to compel or to quash. The order can
be modified for use in any case in which electronic discovery is an issue, and any
ruling of the court on conduct of electronic discovery will likely be based, at least in
part, on that model order. See ED Texas Website under Quick Links / Forms / Patent
Forms / Order Regarding E-Discovery in Patent Cases.

                                 VI. RESOURCES

      The Eastern District of Texas website (www.txed.uscourts.gov) contains
information about electronic filing, which is mandatory, Local Rules, telephone
numbers, general orders, frequently requested cases, the Eastern District fee
schedule, and other information.

                               VII. COMPLIANCE

       A party is not excused from the requirements of this scheduling order by virtue
of the fact that dispositive motions are pending, the party has not completed its
investigation, the party challenges the sufficiency of the opposing party’s disclosure,
or because another party has failed to comply with this Order or the rules.


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       Failure to comply with relevant provisions of the Local Rules, the Federal
Rules of Civil Procedure, or this Order may result in the exclusion of evidence at trial,
the imposition of sanctions by the court, or both. If a fellow member of the Bar makes
a just request for cooperation or seeks scheduling accommodation, a lawyer will not
arbitrarily or unreasonably withhold consent. However, the court is not bound to
accept agreements of counsel to extend deadlines imposed by rule or court order. See
Local Rule AT-3(j).

                                 VIII. INQUIRIES

       Questions relating to this scheduling order or legal matters should be
presented in a motion, as appropriate. For questions regarding electronic notice or
electronic case files, please see the ECF FAQs on the Eastern District of Texas
website.

      So ORDERED and SIGNED this 5th day of July, 2024.



                                           ___________________________________
                                           JEREMY D. KERNODLE
                                           UNITED STATES DISTRICT JUDGE




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